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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 25-20577-CIV-ALTONAGA/Reid

  In re:
  THE COMPLAINT OF BRP
  CORPORATE SERVICES LLC
  ______________________________/

       NOTICE TO CLAIMANTS OF PETITION FOR EXONERATION FROM OR
                       LIMITATION OF LIABILITY

         Notice is given that Petitioner, BRP Corporate Services LLC has filed a Complaint

  [ECF No. 1] (“Petition”) pursuant to 46 U.S.C. Section 30501 et seq., for Exoneration from

  or Limitation of Liability for all claims for any damages or injuries, arising out of, or occurring

  as a result of an incident on the navigable waters of the United States on or about September

  14, 2024 allegedly involving a 2016 27’ Sailfish, Model 275 DC, HIN # YSIC0099J516,

  Florida Vessel Registration Number, FL 4080 TD, with twin 2015 Mercury Marine 150 HP

  outboard motors bearing Serial numbers 2B204985 and 2B210912, and other appurtenances

  (“Vessel”), as more fully described in the Petition for Exoneration from Limitation of

  Liability.

         All persons having such claims must file their respective claims, as provided by

  Supplemental Rule F of the Supplemental Rules for Certain Admiralty and Maritime Claims

  of the Federal Rules of Civil Procedure, with the Clerk of Court in writing and must serve a

  copy thereof on attorneys for Petitioner on or before April 11, 2025 or be defaulted. Personal

  attendance is not required.

         Any claimant who desires to contest either the right to Exoneration from or the right

  to Limitation of Liability shall file and serve on attorneys for Petitioner an answer to the
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  Petition, on or before the aforesaid date, unless the claim includes an answer, so designated,

  or be defaulted.

         DONE AND ORDERED in Miami, Florida, this 11th day of March, 2025.



                                             ________________________________________
                                             CECILIA M. ALTONAGA
                                             CHIEF UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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